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                                                                                  2025 Jun-06 AM 10:31
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION


EVAN MILLIGAN, et al.,
        Plaintiffs,
                                             Case No. 2:21-cv-01530-AMM
               v.
                                               THREE-JUDGE COURT
WES ALLEN, in his official
capacity as Alabama Secretary of                 NOTICE OF APPEAL
State, et al.,
               Defendants.

                      NOTICE OF APPEAL OF ORDER
                        GRANTING INJUNCTION

      Notice is hereby given that Defendants Secretary of State Wes Allen, Senator

Steve Livingston, and Representative Chris Pringle hereby appeal to the Supreme Court

of the United States from this Court’s May 8, 2025 Injunction and Order. See Milligan

Doc. 490. This appeal is taken under 28 U.S.C. § 1253.


                                Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on June 6, 2025, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification to counsel

of record.



                                               s/ Edmund G. LaCour Jr.
                                               Edmund G. LaCour Jr.
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